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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


NUANCE COMMUNICATIONS, INC.

                                                 Civil Action No. 1:19-CV-11438-PBS

                   Plaintiff and Counterclaim    Leave to File Granted on Mar. 10,
                   Defendant,                    2020, ECF No. 77
v.
                                                 Electronically Filed
OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.


                   Defendant and Counterclaim
                   Plaintiff.



     COPY OF OMILIA’S NEW CANADIAN COMPETITION SUIT AGAINST NUANCE




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Dated: March 10, 2020                 Respectfully submitted,

                                      By: /s/ Eric S. Hochstadt

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                                    CERTIFICATE OF SERVICE

       I hereby certify that on this the 10th day of March 2020, I electronically filed the foregoing

COPY OF OMILIA’S NEW CANADIAN COMPETITION SUIT AGAINST NUANCE with

the Clerk of Court using the CM/ECF system which will send notification of such filing to all

attorneys of record in this case.



                                              /s/ Eric S. Hochstadt
                                              Eric S. Hochstadt




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                                                                      Service of Process
                                                                      Transmittal
                                                                      03/06/2020
                                                                      CT Log Number 537336049
TO:      David Greenbaum
         Nuance Communications, Inc.
         1 Wayside Rd
         Burlington, MA 01803-4609

RE:      Process Served in Massachusetts

FOR:     Nuance Communications, Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                 OMILIA NATURAL LANGUAGE SOLUTIONS. LTD. PLTF. vs. NUANCE COMMUNICATIONS
                                 INC and NUANCE COMMUNICATIONS CANADA. INC., DFTS.
DOCUMENT(S) SERVED:              Statement, Attachments
COURT/AGENCY:                    None Specified
                                 Case # CV2000637435000
NATURE OF ACTION:                Statement of Claim
ON WHOM PROCESS WAS SERVED:      C T Corporation System, Boston, MA
DATE AND HOUR OF SERVICE:        By Process Server on 03/06/2020 at 13:19
JURISDICTION SERVED :            Massachusetts
APPEARANCE OR ANSWER DUE:        Within 20 after this statement of claim is served on you
ATTORNEY(S) / SENDER(S):         McCarthy Tetrault LLP
                                 Suite 5300, Toronto Dominion Bank Tower
                                 Toronto, ON M5K1E6
                                 416-601-823
ACTION ITEMS:                    CT has retained the current log, Retain Date: 03/06/2020, Expected Purge Date:
                                 03/11/2020

                                 Image SOP

                                 Email Notification, David Greenbaum david.greenbaum@nuance.com

                                 Email Notification, KATIE MARBLE kathryn.marble@nuance.com

                                 Email Notification, Jackie Reppucci Jacquelyn.Reppucci@nuance.com

SIGNED:                          C T Corporation System
ADDRESS:                         1209 N Orange St
                                 Wilmington, DE 19801-1120
For Questions:                   866-401-8252
                                 EastTeam2@wolterskluwer.com




                                                                      Page 1 of 1 / CJ
                                                                      Information displayed on this transmittal is for CT
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                                                                      the recipient for quick reference. This information does not
                                                                      constitute a legal opinion as to the nature of action, the
                                                                      amount of damages, the answer date, or any information
                                                                      contained in the documents themselves. Recipient is
                                                                      responsible for interpreting said documents and for taking
                                                                      appropriate action. Signatures on certified mail receipts
                                                                      confirm receipt of package only, not contents.
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                                                          d^ds>    6b
                                                             Court File No.:

                                   ONTARIO
                           SUPERIOR COURT OF JUSTICE

BETWEEN:
                  OMILIA NATURAL LANGUAGE SOLUTIONS. LTD.
                                                                                    Plaintiff

                                          - and -


                       NUANCE COMIVIUNICATigNS,'INC\ and             do
                     NUANCE COMMUNfCATIONS CANADA. INC.
                                                                                Defendants


                                STATEMENT OF CLAIM

TO THE DEFENDANTS:

         A LEGAL PROCEEDING HAS BEEN COMMENCED AGAINST YOU by the
plaintiff. The claim made against you is set out in the following pages.
        IF YOU WISH TO DEFEND THIS PROCEEDING, you or an Ontario lawyer acting
for you must prepare a statement of defence in Form 18A prescribed by the Rules of Civil
Procedure, serve it on the plaintiffs lawyer or, where the plaintiff does not have a lawyer,
serve it on the plaintiff, and file it, with proof of service, in this court office, WITHIN
TWENTY DAYS after this statement of claim is served on you, if you are served in
Ontario.
       If you are served in another province or territory of Canada or in the United States
of America, the period for serving and filing your statement of defence is forty days.. If
you are served outside Canada and the United States of America, the period is sixty days.

         Instead of sen/ing and filing a statement of defence, you may senre and file a
notice of intent to defend in Form 18B prescribed by the Rules of Civil Procedure. This
will entitle you to ten more days within which to serve and file your statement of defence.

      IF YOU FAIL TO DEFEND THIS PROCEEDING. JUDGMENT MAY BE GIVEN
AGAINST YOU IN YOUR ABSENCE AND WITHOUT FURTHER NOTICE TO YOU. IF
YOU WISH TO DEFEND THIS PROCEEDING BUT ARE UNABLE TO PAY LEGAL
FEES, LEGAL AID MAY BE AVAILABLE TO YOU BY CONTACTING A LOCAL LEGAL
AID OFFICE.
       TAKE NOTICE: THIS ACTION WILL AUTOMATICALLY BE DISMISSED if it has
not been set down for trial or terminated by any means within five yeara after t^ action
was commenced unless otherwise ordered by the court.                           "N
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 Date: March                            Issued by
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                                     court office ^Torpnto ON^M5G-1E6
                                                    iuPERIOR COURT       COURSUP^RIEURE
TO:      NUANCE^OMMUpOATIONSrll^:                    OF JUSTICE          OE JUSTICE
       ^jDne'Wayside:Road         ^                  330 UNIVERSITY AVE. SSOAVE. UNIVERSITY
         Burlingtdn:iVIA,0.1803 ^ C/   *             STH FLOOR           SEWAGE
         United^States of Amg^a    C^Cp              TORONTO.  ONTARIO   TORONTO. ONTARIO
                                                     M5G1R7              M5G1R7

. AND TO: NUANCE COMMUNICATIONS CANADA, INC.
          1500 Robert-Bourassa Boulevard
          Suite 935
          Montreal QC H3A3S7
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                                             CLAIflA

1.       Omilia Natural Language Solutions Ltd. ("Omilia'’) claims against the defendants,
Nuance         Communications     Canada,     Inc.     ("Nuance    Canada”)     and    Nuance
Communications, Inc. ("Nuance”) for:

         (a)      Damages in the amount of $33,217,530 for injurious falsehood,
                  defamation, breach of Section 52(1) of the Competition Act, R.S.C. 1985,
                  c. C-34 {“Competition Act), intentional interference with economic
                  relations, unjust enrichment, and waiver of tort;

         (b)      An order and declaration that Nuance and Nuance Canada be disgorged
                  of any and all monies received as a consequence of any wrongdoing
                  perpetrated by them upon Omilia;

         (c)      A declaration that all monies obtained by Nuance and Nuance Canada as
                  a result of their wrongful conduct are held in constructive trust in favour of
                  Omilia;

         (d)      Such orders and declarations, injunctive or othenA/ise, interim,
                  interlocutory and permanent, to preserve, trace, and locate all monies and
                  assets which form the constructive trust referred to above;

         (e)      Punitive damages in the amount of $1,000,000;

         (f)      Pre-judgment and post-judgment interest in accordance with the Courts of
                  Justice Act, R.S.0.1990, c. C.43, as amended;

         (g)      Costs of this proceeding on a full indemnity scale;

         (h)      Investigative costs on a full indemnity basis pursuant to section 36 of the
                  Competition Act, R.S.C. 1985, c. C-34; and

         (i)      Such further and other relief as this Honourable Court deems just.
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OVERVIEW


2.       Omilia is a growing customer service technology company. Its customers are
business enterprises with a need to facilitate communications with customers in high
volume. Omilia offers its customers a suite of technology offerings that enable them to
provide their own customers with a unified platform for conversational customer service
through multiple forms of communication media. This is known as an omni-channel
approach.

3.       Omilia's suite of products includes an artificial intelligence self-service solution,
which allows businesses to offer their customers a high quality, conversational, human-
to-machine customer service experience. This solution is based on Omilia's proprietary
automated speech recognition (“ASR”) technology.

4.       Nuance Is one of the largest customer service technology companies in North
America. Nuance Canada is a Canadian affiliate of Nuance. Nuance and Nuance Canada
also offer omni-channet solutions with their own ASR technology. While in recent years
Nuance appears to have taken some cues from Omilia's technology in the development
of its own products, Omilia's ASR technology is functionally superior to Nuance's.

5.       Since 2001, Nuance has carried out a scheme to eliminate or acquire rival ASR
technology providers in the United States. As a result, Nuance has effectively eliminated
meaningful competition in the targe scale enterprise ASR market in the United States.
One of Nuance's tactics has been to acquire patents relating to ASR and then to threaten
or commence patent lawsuits against smaller competitors to drive them out of business
or force capitulation to acquisition.

6.    Another tactic employed by Nuance in the United States has been to contact its
competitors' clients and resellers with injurious and defamatory statements about
Nuance's competitors, aimed at discouraging those parties from doing business with
Nuance's competitors, and inducing them to switch to Nuance as their supplier. Nuance
is in the process of carrying out these tactics against Omilia in the United States, which
is the subject of legal proceedings in that jurisdiction.

7.       Nuance Canada, with the help of Nuance, has recently commenced these
unlawful tactics against Omilia in Canada.
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8.     In or about November 2019, representatives of Nuance Canada approached
representatives of the Toronto-Dominion Bank (“TD Bank”) and made false and injurious
statements about Omilia designed to cause TD Bank to withdraw from a project it would
have otherwise completed for the implementation of Omilia technology solutions by TD’s
insurance business in Canada (”TD Insurance"). The project was a pilot. If the pilot went
as expected, TD Bank was likely to roll out Omilia's technology solutions across TD
Bank's other business lines as well. As a direct result of having been misled and
misinformed by Nuance Canada, TD Bank halted the project and has declined to enter
into further formalized arrangements for the use of Omilia technology. Omilia has lost
both the project with TD Insurance and the further opportunities with TD Bank from which
it otherwise stood to profit. This has, in turn, damaged Omilia's efforts to make inroads
into the Canadian ASR technology market.

9.     Omilia has suffered damage as a result of Nuance Canada’s wrongful conduct in
Ontario. The full extent and impact of Nuance Canada's conduct in Ontario and Omilia's
corresponding damages may not yet be known.

Factual Background

The Parties

10.    The plaintiff, Omilia, is a growing customer service technology company,
incorporated under the laws of Cyprus. Omilia has developed a suite of customer service
products that enable its business enterprise customers to provide their own customers
with a single unifted platform for conversational customer service through multiple media
(e.g. phone call, mobile app, web chart, SMS text, etc.). This is called the "omni-channel
approach” to customer service.

11.    Based on its proprietary ASR technology. Omilia has developed an artificial
intelligence self-service solution, which allows its customers to offer their customers a
high quality, conversational, human-to-machine customer experience. Omilia's principal
customers are large banks, telecommunications companies, insurance companies,
utilities, and other companies with a need to manage and respond to large volumes of
customer service communications.
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12.    As discussed further below, after enjoyirtg success in Europe and a breakout in
Canada, Omilia has recently been taking steps to expand its business in Canada and the
United States.

13.    The defendant Nuance is a multl-biillon dollar conglomerate built by more than a
decade of predatory acquisitions of competitors, patent assets, and competing
technologies intended to ensure that Nuance, and Nuance technology, maintain a
dominant position in North American markets. Nuance Canada is the main Canadian
subsidiary of Nuance.

14.    Nuance is incorporated under the laws of Delaware, United States. Nuance
Canada is incorporated under the laws of Quebec, Canada.

15.    Nuance and Nuance Canada conduct business in the province of Ontario.

Background on ASR Technology

16.    ASR technology enables a machine to recognize and respond to human voice
commands. Omilia, Nuance, and some of their competitors have their own proprietary
ASR technology that Is used in enterprise customer care centres to automate the handling
and routing of incoming calls. ASR technology is typically deployed in high-end enterprise
customer care centres for large companies, which may handle as many as thousands of
incoming calls per day or more.

17.    ASR enterprise so^are is typically comprised of three core components: (i) an
ASR engine; (ii) a natural language understanding ("NLU") engine; and (iii) a dialogue
manager (“DM”). The ASR engine allows a computer to convert speech to text. The NLU
engine processes the text produced by the ASR engine and enables a computer to
respond to speech expressed in natural language. An NLU engine can extract meaning
out of unstructured, free-form, spontaneous language such that callers can express
themselves naturally without being limited to predefined commands dictated by the ASR
system (as older forms of ASR technology required). The DM receives the output of the
NLU engine and determines how to respond to the caller, dynamically adapting to the
caller’s spoken request.

18.    Omitia's proprietary DM and NLU system is called “DiaManF (Dialogue
Management Technology).
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19.       The market for ASR technology for use within high-end, large-scale enterprise
customer care centres constitutes a distinct product market characterized by high barriers
to entry. These include, among other things, the substantial investment of time and
resources, including hundreds of thousands of hours or more of reai-iife training using
data acquired from large scale customer care centres, which are-required to develop
sufficiently robust acoustic and language models for commercial ASR enterprise software
to function effectively.

20.       Vendors that participate in the large scale ASR enterprise software market,
including Nuance and Omilia, contract either directly with their enterprise customers or
Indirectly through the use of intermediaries known as "resellers," who may resell the
vendor's complete set of ASR enterprise software components, or combine parts of that
vendor's ASR technology with parts of their own technology. For example, a reseller may
contract with an ASR technology company to combine that company's ASR engine with
their own NLU and DM.

21.       As explained below, through its aggregation of patent assets and actual and
potential competitors in the ASR enterprise software market, Nuance has established a
dominant position in this market in the United States.

Nuance Acquired Monopoly Power Though the Aggregation of Patent Assets and
Acquisitions of Competitors

22.       Since the early 2000s, Nuance has carried out a calculated strategy to acquire
actual or potential competitors, as well as a huge library of thousands of patents from
unrelated parties. Over more than a decade. Nuance has acquired more than 50 of their
actual or potential competitors. These acquisitions have enabled Nuance to maintain a
position of dominance in the ASR enterprise software market in the United States and in
other countries.

23.       Today, Nuance claims that 85% of Fortune 100 companies use Nuance software
and technology in the United States, while most other competitors in the ASR enterprise
software market Individually maintain a mere fraction of that market share in the United
States.
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24.     Nuance does not practice the vast majority of the patents it has acquired through
these transactions. On the contrary, the primary purpose underpinning these transactions
is to enable Nuance to use their vast, acquired patent portfolio to suppress innovation
and prevent market entry by its competitors. In its filings with the United States Securities
and Exchange Commission, Nuance admits that the thousands of patents and patent
applications it has "purchased" or otherwise obtained are "critical" to its ability to maintain
its “market-leading position" (per Nuance's 2010 10-k Report).

25.     Nuance’s acquisitions of its competitors have frequently been preceded by
assertions of patent lawsuits that resulted in the defendant capitulating to Nuance’s
aggressive acquisition strategy. As is evident from the publicly-available pleadings in
those cases, Nuance has consistently engaged in a campaign to file patent infringement
lawsuits against smaller competitors in bad faith in order to (a) harm their business
relationships and reputations, (b) cause them to incur significant legal expenses, and (c)
exert leverage to acquire them at a discounted price.

26.     In total, since 2001, Nuance has commenced at least seventeen patent actions
worldwide against eight of its competitors. Only two such actions went to trial, and in both
those instances, the jury determined that Nuance's patents were not infringed and/or
Nuance’s patents were invalid.

27.     As detailed further below. Nuance and Nuance Canada have recently deployed
this strategy in an attempt to keep Omilia from expanding in the Canadian market by
spreading injurious misinformation about Omilia to Omilia's new customer, TD Bank.

Nuance's Relationship with Omiiia and its Affiliates

28.     Omilia is currently a direct competitor of Nuance in the ASR enterprise software
market. However, it was previously a reseller for Nuance.

29.    Omilia was founded in 2002. When the company was started, Omilia's principal
business was integrating and customizing other companies’ speech recognition
technology into solutions for other companies. In 2004, Omilia began to use Nuance's
technology in some of the solutions it designed.

30.     While the solutions built on Nuance technology provided adequate functionality,
Omilia and its customers found that the Nuance technology was insufficiently robust.
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Novice users unfamiliar with using the system would frequently have difficulty being
understood and having their calls fielded effectively.

31.    Omilia recognized that the Nuance technology had shortcomings, and set out to
develop its own proprietary technology.

32.    By 2007, Omilia’s efforts to develop improved software solutions had led to it
developing its proprietary DM and NLU system, DiaManT.

33.    In 2007, Omilia began deploying solutions that were comprised of Omilia's
DiaManT system and Nuance's ASR technology into call centre automation solutions.
The resulting solutions were comparatively more robust. That same year, Omilia entered
into an agreement with Nuance to be its reseller of Nuance ASR technology in Europe
(the "Reseller Agreement”).

34.    Omilia's success began to grow following the roll out of its DiaManT system.

35.     During the Greek financial crisis in 2010, Omilia explored with Nuance the
possibility of a commercial partnership beyond the Reseller Agreement. These
discussions culminated in a meeting between Omilia Managing Director Dimitris Vassos
and Nuance Europe General Manager Peter MacKinnon in January 2011. No commercial
partnership beyond the parties' then-existing reseller relationship was formed.

36.   During Mr. Vassos' meeting with Mr. MacKinnon, and related exchanges, Mr.
Vassos provided Nuance with documents and information that described Omilia's
proprietary DiaManT system. The basic architecture and key features of DiaManT have
not changed since Mr. Vassos’ discussions with Nuance in 2010 and 2011.

37.   In October 2013, following Omilia’s continued success in European markets and
elsewhere using its DiaManT system. Nuance required Omilia, under the pretense of a .
global partner review, to disclose its full list of customers and the projects on which Omilia
was actively working. Omilia disclosed the requested information to representatives of
Nuance on or around October 9, 2013. At the time. Nuance represented that it would
maintain the customer list in confidence.
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ss.    Immediately following that disclosure however, Nuance used Omilia’s customer
list to target Omilia’s customers in Europe. Nuance contacted a number of Omilia's
current and prospective customers to promote Nuance's products.

39.    Shortly thereafter, on October 31, 2013, Nuance formally served Omilia with a 90-
day notice of termination of the Reseller Agreement.

40.    Omilia lost customers to Nuance as a result of Nuance’s conduct.

Omilia Develops Its Own ASR Technology

41.    Following Nuance’s termination of the Reseller Agreement, Omilia needed to find
a new supplier of ASR technology that it could deploy in conjunction with its DiaManT
system.

42.    Despite its efforts to do so, Omilia was not able to find a new partner that could
provide adequate ASR technology. Omilia decided to develop its own ASR technology.

43.    Given the data Omilia had the foresight to collect on prior projects, it was able to
develop a high performing ASR technology.

44.    By 2014, Omilia was deploying call centre solutions founded on 100% Omilia
technology: Omilia ASR with the Omilia DiaManT system (NLU and DM).

45.       Following termination of the Reseller Agreement, Omilia exclusively offered
customers ASR enterprise software comprised of its DiaManT technology combined with
Omilia's own proprietary ASR engine.

Omilia Enters the North American Market

46.    After several years of increasing success selling its own complete ASR enterprise
software in Europe, Omilia began focusing on expanding its business in North America.
Its first major contract was with the Royal Bank of Canada, which it parlayed into
connections in the United States.

47.       In response. Nuance commenced efforts to prevent Omilia from establishing itself
as a competitor to Nuance in the United States market:
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       (a)     First. Nuance asserted, for the first time, that Omiiia's technology infringed
               patents owned by Nuance. Nuance did so notwithstanding the fact that the
               basic architecture and key features of Omiiia's DiaManT technology had
               not changed since Mr. Vassos's discussions with Nuance in 2010 and
               2011.

       (b)     Second, Nuance commenced a patent lawsuit against Omilia in the United
               States alleging infringement of a number of patents (the "U.S. Patent
               Action”). Nuance had purchased three of these patents (nos. 8,379,804,
               8,521,534, and 8,532,993) after Mr. Vassos had provided Nuance with
               detailed information regarding Omiiia’s technology.

       (c)     Third, Nuance commenced a campaign of providing misinformation to
               Omiiia's customers, potential customers, and resellers in the United
                States.

48.    Omilia lost customers and business In the United States as a result of this conduct,
which is the subject of litigation in the United States.

49.    Omiiia's technology in no way infringes any patents asserted by Nuance
whatsoever.

50.     Prior to filing the U.S. Patent Action, Nuance knew, based on Information provided
by Mr. Vassos to Nuance in 2010 and 2011, as well as from pubticly-available information
describing the Omilia systems, that the Omilia technology does not infringe the asserted
patents.

51.     In addition, prior to commencing the U.S. Patent Action, Nuance knew or ought to
have known that the asserted patents were invalid. Prior art that renders those patents
invalid was directly available to Nuance, including through its ownership of and other roles
(e.g. Board memberships) with organizations and companies that held such prior art.

The TD Bank Project

52.     In or around September 2018, TD Bank issued a Request for Information (RFI) to
a short list of technology vendors about the vendors’ technology offerings. In the RFI, TD
Bank stated that it was seeking to build a new interactive voice response (IVR) platform
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for its North American business lines which was capable of offering a best in class
conversational experience. One of the recipients of the RFl was Connex Services Inc.
(Xonnex”), a Canadian technology company and partner of Omilia. Connex's response
to the RFl involved the implementation of Omilia's ASR and DiaManT technology
solutions. Nuance Canada was also a recipient of the RFl.

53.   In or around October 2018, following the vendors' responses to the RFl,
Connex/Omilia and Nuance Canada were shortlisted and asked to respond to a Request
for Proposal C'RFP'') by TD Bank for an omni-channel customer service technology
solution for deployment in its insurance business, TD Insurance (the "TD Projecf). The
TD Project was intended to be a pilot for the much larger project of overhauling TD Bank's
IVR technology across its North American business lines.

54.    Nuance Canada submitted a proposal, as did Connex. Connex's proposal again
involved the implementation of Omilia's technology solutions (the “Connex/Omilia
Proposal"). Ultimately, Connex/Omitia's proposal was successful.

55.    Connex had a pre-existing master services agreement with TD Bank. Under the
terms of the accepted RFP proposal, new Statements of Work for the TD Project would
be entered into pursuant to the existing master services agreement.

56.    After winning the RFP for the TD Project, Omilia and Connex prepared
Statements of Work for, and commenced work on, the TD Project.

57.    Omilia understood that if the TD Project was delivered as expected, TD Bank
would expand the use of Omilia’s technology solution beyond TD Insurance, across its
other business lines. This would have included expansion into the United States.

58.    Nuance and Nuance Canada were aware that Connex/Omilia had won the RFP
and were engaged in work on the TD Project. They knew this not only because Nuance
Canada lost the RFP, but also because Nuance Canada supplies voice biometrics
technology (i.e. for authenticating customers by telephone) to TD Bank, which would have
to be integrated with the solution being implemented by Connex/Omilia. indeed, in their
capacity as suppliers of voice biometrics technology to TD Bank, Nuance Canada
representatives were present at a TD Project kick-off meeting with Connex/Omilia and
TD Bank in late 2018.
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59.    Following Connex/Omilia’s success in the TD RFP process. Nuance Canada
began deploying its customary business tactics, this time targeting Omilia and its efforts
to break into the Canadian market.

60.    On November 4,2019, TD Bank convened an urgent conference call with Connex
and Omilia (the "Conference Call").

61.    During the Conference Call, Aaron Clark, Gregory Smith, and Tina Robinet of TD
Bank's Insurance Group advised Connex and Omilia that representatives of Nuance
Canada had contacted them and made the following representations:

       (a)     Omilia's ASR and DiaManT technology are Inferior to Nuance’s
               technology;

       (b)     Omilia's ASR and DiaManT technology clearly infringe Nuance’s patents:

       (c)     Nuance commenced a lavirsuit against Omilia in the United States because
               of that infringement, which was going to be successful;

       (d)     Omilia was going to be sufficiently financially damaged by the lawsuit that
               it would cease operations; and

       (e)     For all these reasons, TD Bank should not use Omilia technology for the
               TD Project (together with the above, the "Statements”).

62.    Omilia pleads that the Statements were made to Aaron Clark, Gregory Smith, and
Tina Robinet of TD Bank by Robin Langtois and Michael She of Nuance Canada on or
about November 4. 2019. The exact day and time the Statements were made and by
what means are details that are known to Nuance and Nuance Canada, but are not
presently known to Omilia.

63.    Each of the Statements constituted a misrepresentation by Nuance Canada to TD
Bank, each of which it knew or ought to have known was false.

64.    As a direct result of the Statements, TD Bank halted the TD Project and advised
Connex and Omilia to stop ail work. As a direct result of the Statements, TD Bank refused
to formalize any further work that would involve the use of Omilia technology. As a direct
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result of the Statements, Connex and Omilia have lost the TD Project and the likelihood
of further business from TD Bank’s other business lines.

65.      As the makers of the other bid that was shortlisted in TD Bank’s RFP process,
Nuance Canada is likely to now be awarded some or all of the work that was to be
performed by Connex/Omilia on the TD Project, and for TD Bank's other business lines.
Nuance Canada therefore stands to profit directly from its wrongdoing.

Liability of the Defendants

      a) Injurious falsehood

66.      The Statements made by Nuance Canada are false and disparaging of Omilia's
business and its products.

67.      The allegation that Omilia's technology infringes Nuance’s asserted patents in the
U.S. Patent Action is completely false.

68.    Moreover, the overall impression Nuance Canada conveyed in the Statements
was also false and misleading. Including because Nuance Canada portrayed the U.S.
Patent Action as meritorious and likely to succeed when it knew that the litigation was
unmeritorious and tactical, in keeping with its usual business practices. The U.S. Patent
Action was commenced for the purpose of being able to raise it with Omilia’s customers
and potential customers in a way that completely misrepresents the merits of the litigation
in order to cause Omilia to lose business.

69.    The impression left by the Statements was that there was a reasonable likelihood
that the U.S. Patent Action would succeed and Omilia would be left insolvent or
significantly financially injured, and/or that Omilia would be prevented from deploying, and
its customers prevented from using. Omilia’s solutions.

70.   The Statements were published to third parties including TD Bank. Nuance
Canada made the Statements maliciously and with the deliberate intention to injure
Omilia. In the alternative, the Statements were made with reckless indifference as to
whether their publication would injure Omilia. The Statements were made without just
cause or excuse.
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71.     The Statements have resulted in pecuniary losses to Omilia including, but not
limited to, lost profits on the TD Project and TD Bank's other business lines, and injury to
Omilia's position in the market in Canada, the full extent of which is not yet known.
Nuance and Nuance Canada stand to benefit directly from Omilia's losses in respect of
the TD Project, TD Bank’s other business lines, and positioning in the Canadian ASR
technology market more generally. Nuance knew or ought to have known that the
Statements were likely to have such effects.

      b) Defamation
72.     The Statements were communicated to third parties including TD Bank by Nuance
Canada and were thereby published. At this time the full circulation of the Statements to
third parties is unknown to Omilia, but is known to Nuance and Nuance Canada.

73.      The Statements made by Nuance Canada were not general in nature, they
referred explicitly and specifically to Omilia.

74.   The Statements would have been understood in accordance with their literal
meanings. Additionally, they would have been understood to convey that relying on
Omilia technology was a bad business decision, and that TD Bank and other companies
should not work with Omilia.

75.     The Statements caused and continue to cause significant harm to Omilia,
including but not limited to, lost revenue and profits, harm to reputation, loss of partnership
and customer opportunities, and injury to Omilia's position in the market including Ontario.
Nuance and Nuance Canada stand to benefit directly from Omilia's losses in respect of
the TD Project, TD Bank's other business lines, and positioning in the Canadian ASR
technology market more generally.

76.      Nuance Canada has declined to take steps to remedy the injury caused by the
false and defamatory Statements. Nuance Canada has not retracted the Statements nor
provided an apology nor corrections.

77.    Nuance Canada acted with malice in making the Statements. The representations
contained in the Statements were known by Nuance Canada to be untrue at the time
which it made them. Nuance Canada made the Statements with the intention of harming
Omilia. In fact, Nuance Canada commenced the unmeritorious U.S. Patent Action for the
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express purpose of using it to mislead Omilia's customers into thinking that Omilia's
technology infringed patents and that Omilia would not be in business for iong, and that
third parties would not be permitted to use Omilia's supposedly patent-infringing
technology.

78.      In the alternative, Nuance Canada made the Statements with reckless
indifference with respect to the harm Omilia would suffer as a result of the Statements.

      c) Breach of Section 52(1) of the Competition Act

79.      The Statements made by Nuance Canada to TD Bank constitute representations
to the public within the meaning of Section 52(1) of the Competition Act, or ought to be
deemed to constitute such representations to the public. As set out above, the Statements
contained specific material false and misleading representations.

80.      Nuance Canada made the representations in the Statements knowing that they
were materially false and misleading, both in their specific literal meaning and the overall
impression they conveyed to TD Bank. In the alternative, Nuance Canada made some of
the representations in the Statements recklessly.

81.      Nuance Canada made the false and misleading representations in the Statements
for the purpose of promoting the use of its own products and its own business interests,
at the expense of Omilia.

82.     Such conduct constitutes offences under Part VI of the Competition Act, in
particular, section 52(1) of the Competition Act Omilia claims losses and damages under
section 36(1) of the Competition Act in respect of such unlawful conduct.

83.      The Statements have resulted in pecuniary losses to Omilia including, but not
limited to, lost profits on the TD Project and TD Bank's other business lines, and injury to
Omilia's position in the market in Canada, the full extent of which is not yet known.
Nuance and Nuance Canada stand to benefit directly from Omilia’s losses in respect of
the TD Project, TD Bank’s other business lines, and positioning in the Canadian ASR
technology market more generally.
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      d) Intentional Interference with Economic Reiations

84.      By its conduct, Nuance Canada has intentionally interfered with Omilia's
economic relations. Nuance commenced the unmeritorious U.S. Patent Action and then
Nuance Canada disseminated false and damaging information to TD Bank and its
representatives. Nuance Canada’s intent was to encourage TD Bank to cease doing
business with Omilia. Nuance Canada’s intent was to harm Omiiia.

85.      Nuance Canada's interference was by unlawful means. This included, but may
not    be   limited to, the torts of negligent or fraudulent misrepresentation,
misrepresentations contrary to Section 52(1) of the Competition Act, injurious falsehood,
and conspiracy.

86.      Omilia has suffered economic harm as a result, including but not limited to, lost
profits, harm to reputation, loss of partnership and customer opportunities, and injury to
Omilia’s position in the market including Ontario. Nuance and Nuance Canada stand to
benefit directly from Omilia’s losses in respect of the TD Project, TD Bank's other
business lines, and positioning in the Canadian ASR technology market more generally.

      e) Unjust Enrichment

87.      As a result of the conduct described above. Nuance Canada has been unjustly
enriched.

88.      Nuance Canada has been or will be enriched by the awarding of some or all of
the work that was to be performed by Omilia on the TD Project and for other TD Bank
business lines to Nuance Canada. This enrichment corresponds to Omilia's deprivation
of that work and consequent revenue.

89.     Further, Nuance Canada’s conduct in disseminating false, misleading, and
injurious information about Omilia and its products, and causing injury to Omilia's
relationship with TD Bank, has and will cause Nuance Canada to assume a larger share
of the market in Canada than they would othenwise occupy, at the expense of Omilia's
market share.

90.      There is no juristic reason why Nuance and/or Nuance Canada should be
permitted to retain the financial gains and benefits that have flowed from such
misconduct.
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Consplracy between Nuance and Nuance Canada

91.       Nuance acted in concert, by agreement, or with a common design with Nuance
Canada to make the Statements, which conduct was unlawful and directed towards
harming Omilia.

92.       Nuance and Nuance Canada knew in the circumstances that Omilia was likely to
suffer injury as a result of the Statements, and in fact the Statements did cause injury to
Omilia.

93.       In addition, Nuance and Nuance Canada agreed to make the Statements for the
predominant purpose of causing injury to Omilia. In fact, the Statements did cause injury
to Omilia including but not limited to, lost profits from the TD Project and TD's other
business lines, harm to Omilia's reputation, loss of partnership and customer
opportunities with Connex, TD Bank, and others, and injury to Omilia's position in the
Canadian market. Nuance and Nuance Canada stand to benefit directly from Omilia's
losses in respect of the TD Project, TD Bank’s other business lines, and positioning in the
Canadian ASR technology market more generally.

94.       Nuance acted in concert with Nuance Canada in respect of the conduct ascribed
to Nuance Canada herein. Nuance stands to directly benefit from the blocking of Omilia's
ability to enter the Canadian market.

Damages

95.       Omilia has suffered significant harm as a result of Nuance and Nuance Canada's
actions, including but not limited to, lost revenue and profits, harm to reputation, loss of
partnership and customer opportunities, and injury to Omilia’s position in the market
including Ontario.

96.       Omilia's lost profits on the TD Project are $3,757,110 and its lost profits on the
further business with TD Bank's other business lines are $29,460,420.

97.       Further, and as described above. Nuance and Nuance Canada stand to benefit
financially from their misconduct. Omilia pleads waiver of tort, and that Nuance and
Nuance Canada be disgorged of any and all monies received as a consequence of any
wrongdoing perpetrated by them upon Omilia.
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98.    Omilia further pleads that all monies obtained by Nuance and Nuance Canada as
a result of their wrongful conduct should be traced and held in constructive trust in favour
of Omilia.

99.    Further particulars of damages will be provided as they become known.

Punitive, Aggravated, and Exemplary Damages

100.   Nuance and Nuance Canada's conduct has been egregious. Nuance and Nuance
Canada used, and continue to use, their market dominance, conspiracy, and
misrepresentations to maintain a dominant market share. More specifically, their
deliberate and sustained targeting of Omilia and efforts to prevent Omilia from entering
the Canadian ASR market has caused Omilia significant injury. It would have been known
by Nuance and/or Nuance Canada that its conduct would have had such an effect on
Omilia. The conduct of Nuance and Nuance Canada was, and remains, high-handed,
reckless, without care, deliberate, and in disregard of Omilia’s rights and interests. The
public is also harmed by Nuance and Nuance Canada's conduct, the consequence of
which is to impede and lessen competition in the Canadian ASR technology market.

101.   Accordingly, Omilia requests substantial punitive, exemplary, and aggravated
damages be awarded, in the amount of $1,000,000.

Joint and Several Liability

102.   Nuance and Nuance Canada are Jointly and severally liable for the claims and
damages set out herein.

103.   Whenever reference is made herein to any act, deed, or transaction of any
corporation, the allegation means that the corporation engaged in the act, deed, or
transaction by or through its officers, directors, agents, employees, or representatives
while they were actively engaged in the management, direction, control, or transaction of
the corporation's business or affairs.
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Service

104.   Omilia pleads it is permitted to serve this Statement of Claim (the "Claim”) on
Nuance outside of Ontario without leave pursuant to subrules 17.02 (g) and (p), on the
grounds that the Claim:

       (a)      Relates to torts committed in Ontario; and

       (b)      Is against persons carrying on business in Ontario.

Legislation and Piace of Trial

105.   The plaintiffs plead and rely upon the Courts of Justice Act R.S.0.1990, c. C.43,
the Libel and Slander Act R.S.O. 1990, c. L.12. and the CompeW/on ^ct, R.S.C. 1985,
c. C-34, each as amended.

106.   The plaintiff proposes that this action be tried in Toronto, Ontario.

March 4, 2020                                 McCarthy T4trautt LLP
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          SOLUTIONS. LTD. and etal.                                                      Court File No.:
                  Plaintiff     Defendants




                                                                                       ONTARIO
                                                                               SUPERIOR COURT OF JUSTICE

                                                                            Proceeding commenced at TORONTO




                                                                                   STATEMENT OF CLAIM




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